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STATE OF WISCONSIN CIRCUIT COURT OUTAGAMIE COUNTY

STATE OF WISCONSIN,

Plaintiff,

Vv. Case No. 13-CF-1074

CHONG LENG LEE,

wconnee. ORIGINAL

MOTION HEARING

BEFORE: HONORABLE GREGORY B. GILL, JR

Circuit Court Judge, Branch IV

Outagamie County Justice Center eRTOnmh |
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Appleton, WI 54911

DATE: May 26, 2015

APPEARANCES: CARRIE SCHNEIDER rere ON Race

District Attorney

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LEK
GiTAGAMIE,COU

Appearing on behalf of the State

ANDREW MAIER and PETER HAHN
Assistant District Attorneys

Appearing on behalf of the State

DEBORAH VISHNY and EVAN WEITZ
Attorneys at Law

Appearing on behalf of the Defendant

CHONG LENG LEE
Defendant
Appearing in person

Joan Biese
Official Reporter, Branch IV
Outagamie County

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5 Examination by Attorney
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7 Examination by Attorney
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NEAL RABAS

9 Examination by Attorney
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components of this case, correct?
Yes.
But you don't recall any discussions with myself or
other prosecutors related to saying, yes, go ahead
and get rid of those prior recordings.
No. I think that was a decision that was made with
the investigators that were working on the case as to
what do we do with this information, and we related
to the Monfils Law, and that we believe that if there
were any of those recordings, photographs or any
submissions like that, we knew through discovery the
defense would be able to obtain that, so I think as
an investigative team we just decided that nothing
would be retained.

ATTORNEY SCHNEIDER: I have nothing else,
Judge, at this time.

THE COURT: Attorney Vishny.

ATTORNEY VISHNY: Yeah. I have a few more
questions.

EXAMINATION

BY ATTORNEY VISHNY:

Q

First of all, cutside of these three witnesses, Mr.
Thao, Mr. Thao and Mr. Lee, are there any other
witnesses who exist in this case who do not want to

be identified or simply who were interviewed by the

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police that have not been disclosed to the State or
the defense?

Yes.

How many?

Well, there was about 150 people at the bar that we
interviewed. Some of those identities -- I believe
most of those identities you have, but the full
interviews as far as what was discussed during those
interviews was not retained, whether it was recorded ©
or notes taken from that or a report completed on
that. In addition to that, I know of two other
individuals -- I recall two other individuals who I
was part of -- I interviewed that had requested not
to be identified under the same concerns about their
own personal safety in reference to this case.

Okay. What are the name of those individuals?

I don't recall or don't remember right now.

So if we took a ten-minute break and you ran back to
your office you could retrieve that, correct?

I don't know if I have anything from those
interviews.

Well did you reinterview those people in April of
2015 as well?

No, I did not.

Why not?

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in order to do a full impeachment, I simply can't
prove it today.

ATTORNEY SCHNEIDER: I would dispute
because I know we specifically talked yesterday
about, and I told her Sergeant Thao had not talked to
Jack Thao, there was this counterfeit grocery store
thing with his parents.

ATTORNEY VISHNY: Correct.

ATTORNEY SCHNEIDER: So I don't know why
she says she's surprised by Sergeant Thao's
testimony.

THE COURT: I think now we're talking about
Paul Lee.

ATTORNEY VISHNY: I'm not surprised about
the testimony about Jack Thao at all. I wasn't
surprised, it's exactly what I expected. But this
other stuff about interviewing Ryan, Mikey, Watou,
and, you know, I --

ATTORNEY SCHNEIDER: Well, it --~ maybe I'll
say this. My point of today was having him further
express their fears and his basis and his knowledge.
If we're going to argue over the dates and when they
interviewed them and in what order, I want to -- I
guess I'd object because her cross is beyond the

scope. I don't know what she's trying to get to

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through cross, but the purpose of why I recalled him
on that was my thought that I needed to further
express to the court his belief when it goes to the
argument on bad faith.

ATTORNEY VISHNY: Let me try a few more
questions, maybe I can handle this without the
impeachment material.

(BY ATTORNEY VISHNY) Let's talk first about Ryan.
We're going to talk about each one specifically.
Okay?

Yes.

Focusing on Ryan, what did Ryan tell you the shooter
wore in that interview?

He -- he did describe the person coming from which
directions and a description of the clothing, and
you're asking me to describe specifically what color
in terms of -- I can't -- I don't have --

Because you don't remember, right?

Correct.

and you can't refer to any notes because you've

destroyed the reports?

It was decided not to retain, yes.

And you didn't show him any photographs at the time
at that interview, or did you?

I don't recall showing photograph to him.

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‘ - , $
1 Q Paul Lee was a suspect at that time, the main suspect
2 of the Appleton Police Department investigation,
3 correct?

4 A I'm telling you in my mind --

5 Q I'm not asking about your mind, I'm asking about what
6 the suspect was that the team was working to develop,
7 it was Paul Lee, wasn't it?

8 A No. At the time it was not in my mind that Paul Lee
9 was the suspect,

10 Q It was in your mind that somebody else was?

11 A No. It's an open investigation to determine who have
12 done the shooting.

13 Q When Ryan Lee told you he was afraid of people in the

14 Lee family, he didn't even mention Chong Lee's name
15 during that interview on December 10th or 11th,

16 whichever day it occurred, he didn't even mention
17 Chong Lee's name to you.

18 A Right. His name is Ryan Thao. He did not.

19 0 Excuse me. He did not mention Chong Lee, we're
20 absolutely clear about that, correct?

21 A No, he did not mention.

22 Q The person he mentioned being afraid of was Paul
23 Lee?

24 A I don't recall he mentioned Paul Lee, but he

25 expressed concern about the brothers, the family,

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1 ‘because he's familiar with them.
2 0 He told you he knew Paul Lee, right? That's who he
3 was familiar with, right?

4 A I recall -- believe that, but the person that we

3 actually have a better relationship or knowledge or
6 interaction was Mikey Thao, that he --

7 Q I'm asking you about Ryan. We're sticking to Ryan.
8 Okay?

9 A I don't recall him saying Paul Lee that he knew, I
10 don't recall that.

11 Q Okay. So if he talked about the Lee brothers,

12 though, we are 100 percent positive the name Chong
13 Lee never came up, correct?

14 A From Ryan Thao, no.

15 Q No. And he didn't even know Chong Lee, you found out
16 later when you reinterviewed him, right?

17 A Correct.

18 Q So now that we established the name Chong Lee was in
19 no way involved in the Ryan Thao discussion, let's
20 talk about Mikey Thao. Mikey Thao also did not

21 mention Chong Lee as somebody he was specifically

22 afraid of, correct?

23 A Not names but just association with brothers.

24 Q Did he name specifically any specific brothers?

25 A That he's aware of all of them.

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Did he name names?

I didn't -- I don't recall exactly names, but he
mentioned that he's familiar with Paul Lee.

Okay. Did he tell you what his description of the
shooter's clothing was?

Yeah, he did provide a description.

What did he tell you it was at the time?

Again, I don't recall, but it was more of a jacket
and some type of two-tone color or different color,
and I can't give you precisely the color that he

described.

‘And of course you can't remember because you didn't

write it down.
It was decided not to retain, yes.
And you didn't retain the tapes, right?

Right.

And clearly this was the most important thing of this
investigation was to get a description of who did the

shooting when you're talking to these witnesses a few

days before it -- after it occurred, excuse me.
Taking into consideration the express for their

safety, we decided not to retain the tape.

I didn't ask you that. What I asked you was, clearly

the focus of the investigation, whether it's two,

three, four days after this shooting, is to find out

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1 who did it, right?

2 A Correct.

3 Q A description would be a crucial thing to find out,
4 correct?

5 A Correct.

6 Q Clothing would be a crucial thing, right?

7 A Yes.

8 Q Height and weight would be a crucial thing, right?
9 A Correct.

10 Q Showing photos could be a crucial thing, correct?
11 A Yes.

12 Q And you didn't show him any photographs either during
13 that?

14 A I don't recall showing photo.

15 Q Okay. And he didn't specifically ever mention Chong

16 Lee as somebody he was afraid of?
17 A Again, I did not give names other than have been
18 expressed concern, so the answer to your question

19 would be no.

20 Q All right. Watou Lee. He didn't know Chong Lee
21 either, right?

22 A No, he did not.

23 Q Chong Lee's name never came up in the interview,
24 correct?

29 A Yes.

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Did you ask him for a description of what the shooter
wore?

Yes.

Height and weight?

Yes.

You destroyed the tapes, right?

Correct.

You knew at the time what other witnesses had told
the police in terms of descriptions of the shooter,
right?

Yes.

In fact one of the most crucial witnesses was Daniel
Kersten who was the bouncer. You weren't aware of
any of his statements?

No.

Or any of the other witness statements as to what the
shooter wore?

No.

You were just aware that the police believed that
Paul Lee had a gun in his hand as he was fleeing
Luna?

It was expressed to me in that fashion, that he may
have something in his hand similar to a gun.

And when Watou Lee said he was afraid of people in

the Lee family, did he specifically mention Paul

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Lee's name?

‘Watou, he did not know the brothers.

Then how could he have said he was afraid of the Lee
brothers if he didn't know them?

Just through his socialization with Mikey Thao and
with Ryan Thao and the fact that he's aware of the
gang or the association with friends in that group.
Now, you said that you're aware of prior violent acts
by what I characterize as the Lee brothers, correct?
Yes.

Actually, the prior violent acts you were aware of
were those of Paul Lee.

No, his other brothers too.

But it wasn't Chong Lee.

Not -- he was a victim of a shooting.

Chong, yes, well, being a victim is not considered to
be a violent act by the Appleton Police Department,
is it?

Depending on what circumstance that caused it, but to
answer your question, I would say no.

Okay. So aside from Chong Lee being a victim, you
weren't aware of him being involved in any other
incidents that were violent that you're describing
when you say that you were certainly aware these were

legitimate concerns, correct?

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Q He was physically located in a spot that was much
closer to the shooting, possibly, than Alyson Blom,
so it was decided that it was worth protecting him
but not Alyson Blom because of who had walked into

the bar at the same time? Is that what you're

saying?
A I'm saying that my recollection is Alyson was with
the -- this group of people during the course of the

evening, and not just, essentially, a bystander there
in the lobby prior to the shooting, and I think we
may have looked or viewed her just a little bit
differently because she had more information in terms
of the entire evening.

Q You mean in terms of who was where before walking
into the Luna bar?

A Everything that happened that night. And just, I
think, a closer affiliation with Mr. Lee.

Q You were aware that -- and the police had in fact
recorded a phone call between a lady named Delinda,
D-E-L-I-N-D-A, Guzman, G-U-Z-M-A-N, and Alyson Blom
where Alyson Blom had clearly stated, not knowing
that she was being recorded, that she had not seen
the shooting, didn't know who did it, and that she
expressed in one way or another some fear about

getting involved. Correct?

19 EX-B-Q

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1 A I don't remember that specifically, but if I'm not

2 mistaken, I believe Alyson Blom -- and I haven't

3 ‘reviewed the report so I hope I'm not misspoken here,

4 ‘but I believe that she had some communication even

5 that night after the shooting with Chong Lee's

6 brother Hu Lee over in Little Chute or, actually, I

7 think he was at work, but had some communication with

8 either Hu or Hu's wife following the shooting.

9 Q Correct. But even though you knew from a recorded

10 conversation that she had not seen the shooting and
11 didn't know who the shooting (sic) was, she was

12 interviewed and in fact threatened possibly with the
13 loss of her job if she didn’t say who was involved in
14 this case, right?

15 A I don't recall her being threatened. I don't recall
16 that being a loss of her job. But again, I guess my
17 point just being that I think that her interaction

18 with this group of guys, including Mr. Chong Lee, was
19 much, much larger than the other guys that were just
20 standing in the lobby that night. [In fact, I

21 remember at least two of those guys, I think, that

22 were in the lobby that night that you had mentioned
23 here talking about being concerned about Chong and

24 these others showing up there and not even wanting to
25 be there at the time because they were not affiliated

50 EX -B;

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with that gang. And they were concerned for their
safety, I guess, to some degree even at that point
when they were just in the lobby of the -- of the
Luna Lounge, as opposed to Alyson, for example, who
was with them this entire time and follows through
with going and talking to Hu Lee's wife and so

forth.

Okay. So, essentially, I understand your
explanation, but ultimately the Appleton Police
Department decided to pick and choose which witnesses
were and were not going to be disclosed to the
District Attorney, correct?

I guess I can -- to some degree that was the case
here, but these were the only people that I'm aware
of that weren't -- that were spoken to that were not
put in report form.

I see. Were you aware that Watou Lee did not
identify Chong Lee as the shooter and that this might
perhaps be information that's exculpatory and
therefore there was going to be a duty on the part of
the State to turn that over to the defense?

I don't recall that specifically.

Were you aware that Mikey Thao said that he could not
identify Chong Lee as being the shooter and

therefore, as close as he was, that this was

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exculpatory and there could be a duty to turn this
over to the defense?
I don't recall that.

Were you aware that Ryan Thao didn't even know who

Chong Lee was and gave description that might match

another individual and therefore the State would have

a duty to disclose this to the defense because it was
exculpatory?

I am not aware of that.

Now you also participated with some interviews of
individuals in Milwaukee after Chong Lee's arrest,
correct?

Yes.

Did you participate in the interview of Kong Vang,

nicknamed Jesus, who worked at the Thai Kitchen?
‘Yes. I remember going to a restaurant there.

Okay. And that was a short interview and it was

recorded, correct?

I believe so.

Okay. Did you participate in the interview of Xai --
Xai, excuse me, X-A-I, Thao who also had some
valuable information to give, correct?

I don't remember her specifically. Can you tell me

where we interviewed her?

‘It's a male.

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